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 5   Attorney for Larry A. McDaniel
 6
                                 UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,           )
10                                       )               2:17-CR-00110-APG-CWH
                       Plaintiff,        )
11                                       )               UNOPPOSED MOTION TO
           vs.                           )               MODIFY CONDITIONS OF PRETRIAL
12                                       )               RELEASE
      LARRY ANTHONY MCDANIEL,            )
13                                       )
                       Defendant.        )
14   ____________________________________)
15
            COMES NOW, the Defendant LARRY ANTHONY MCDANIEL, by and through his
16
     attorney, TODD M. LEVENTHAL, ESQ., and hereby files the foregoing notice to allow the
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     modifications of Pretrial Release Conditions, specifically conditions #38 & #39.
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19
            1.     Pursuant to the conditions of Pre-Trial Services Doc#34, pg.4 #38, Mr. Larry
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                   McDaniel is to submit to any testing required by Pretrial Services or the
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                   supervising officer to determine whether the defendant is using a prohibited
22
                   substance.
23
            2.     Additionally, Mr. Larry McDaniel is responsible for paying all or part of the cost
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                   for the testing program, Doc#34 pg.4 #39.
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            3.     The pretrial officer assigned to Mr. McDaniel is not opposed to having these
26
                   conditions removed.
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 1    4.    Mr. Leventhal has spoken to Richard A. Lopez, Assistant United States Attorney,
 2          and he has no objection to the modifications.
 3
 4    DATED this 5th day of December, 2017.
 5
      Submitted By: LEVENTHAL & ASSOCIATES, PLLC
 6
 7
                                                 By:          /s/ Todd M. Leventhal
 8
                                                            TODD M. LEVENTHAL, ESQ.
 9                                                          Leventhal & Associates, PLLC
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          Case 2:17-cr-00110-APG-DJA           Document 72        Filed 12/13/17      Page 3 of 3



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 6
                               UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9 UNITED STATES OF AMERICA,             )
                                         )
10                     Plaintiff,        )           2:17-CR-00110-APG-CWH
                                         )
11         vs.                           )           (Proposed) ORDER GRANTING
                                         )           MR. McDANIEL’S UNOPPOSED MOTION
12   LARRY ANTHONY MCDANIEL              )           TO MODIFY CONDITIONS OF PRETRIAL
                                         )           RELEASE
13                     Defendant.        )
     ____________________________________)
14
           Based on the Motion of Defendant LARRY ANTHONY MCDANIEL, and good cause
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     appearing, the Court hereby ORDERS as follows:
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17
           1.     Defendant, LARRY ANTHONY MCDANIEL, may be released from submitting to
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                  any testing by pretrial services for substance abuse, specifically condition #38.
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           2.     Additionally, Mr. McDaniel, may be released from baring the cost of the testing for
20
                  substance abuse, specifically condition #39.
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           3.     All other conditions of Pretrial supervision/diversion shall previously remain in
22
                  place.
23
24
           IT IS SO ORDERED.
25
           Dated this 13th
                      ____ day of December, 2017.
26                                                          _____________________________
                                                            CARL
                                                            GEORGEW. HOFFMAN
                                                                     W. FOLEY
27                                                          U.S. MAGISTRATE JUDGE
28
